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 4
 5   Attorney for Defendant
     Evaristo Arreola-Ventura
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. CRS 11-354 LKK
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND ORDER VACATING
14        v.                         )     DATE, CONTINUING CASE, AND
                                     )     EXCLUDING TIME
15   EVARISTO ARREOLA-VENTURA,       )
     OSCAR GOMEZ GORIBALDO           )
16                  Defendant.       )     Date: Feb 26, 2013
                                     )     Time: 9:15 a.m.
17   _______________________________ )     Judge: Hon. Karlton
18
19        IT IS HEREBY STIPULATED by and between Assistant United States
20   Attorney TODD LERAS, Counsel for Plaintiff, and Attorney Dina L.
21   Santos, Counsel for Defendant EVARISTO ARREOLA-VENTURA; and Attorney
22   Benjamin Galloway, Counsel for Defendant OSCAR GOMEZ GORIBALDO, that
23   the status conference scheduled for January 15, 2013, be vacated and
24   the matter be continued to this Court's criminal calendar on February
25   26, 2013, at 9:15 a.m., for further status.        Counsel for Mr. Arreola-
26   Ventura is new to the case and requires more time to review discovery.
27   Furthermore, both parties are engaged in negotiations and further
28   investigation.
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 2         IT IS FURTHER STIPULATED that time for trial under the Speedy
 3   Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
 4   3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
 5   ends of justice served in granting the continuance and allowing the
 6   defendant further time to prepare outweigh the best interests of the
 7   public and the defendant in a speedy trial.
 8         The Court is advised that all counsel have conferred about this
 9   request, that they have agreed to the February 26, 2013, date, and that
10   all Counsel have authorized Ms. Santos to sign this stipulation on
11   their behalf.
12         IT IS SO STIPULATED.
13
14   Dated: Jan. 11, 2013                      /s/ Dina L. Santos
                                              DINA L. SANTOS
15                                            Attorney for Defendant
                                              EVARISTO ARREOLA-VENTURA
16
     Dated: Jan. 11, 2013                      /s/ Benjamin Galloway
17                                            BENJAMIN GALLOWAY
                                              Attorney for Defendant
18                                            OSCAR GOMEZ GORIBALDO
19   Dated: Jan. 11, 2013                      /s/ Todd Leras
                                              TODD LERAS
20                                            Assistant United States Attorney
                                              Attorney for Plaintiff
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22                                       O R D E R
23
24         Based on the reasons set forth in the stipulation of the parties
25   filed on January 11, 2013, and good cause appearing therefrom, the Court
26   adopts the stipulation of the parties in its entirety.                  IT IS HEREBY
27   ORDERED that the status conference currently scheduled for Tuesday,
28   January 15, 2013, be vacated and that the case be set for Tuesday,


     Stipulation and Order                    2
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 1   February 26, 2013, at 9:15 a.m.       The Court finds that the ends of justice
 2   served by granting such a continuance outweigh the best interests of the
 3   public and the defendant in a speedy trial.           Accordingly, IT IS HEREBY
 4   ORDERED that, for the reasons stated in the parties’ January 11, 2013,
 5   stipulation, the time within which the trial of this matter must be
 6   commenced under the Speedy Trial Act is excluded during the time period
 7   from January 15, 2013, through and including February 26, 2013, pursuant
 8   to 18 U.S.C. §3161(h)(7)(A)&(B)(iv)          [reasonable time to prepare] and
 9   Local Code T4.
10         IT IS SO ORDERED.
11                     By the Court,
12
     Dated: January 15, 2013
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     Stipulation and Order                    3
